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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

                                  MINUTES OF PROCEEDINGS


   NEWARK                                                           DATE: March 7, 2019
   JUDGE: Susan D. Wigenton

   COURT REPORTER: Joanne Sekella

   DEPUTY CLERK: Carmen D. Soto

   Title of Case:                                                   Docket# 09-4414

   IN RE: ZIMMER DUROM HIP CUP PRODUCTS LIABILITY LITIGATION

   Appearances:
   Jeffrey Grand, Esq. For Pltf
   Daniel Leathers, Esq. For Pltf
   Stephanie Russo, Esq. For Pltf
   J. Joseph Tanner, Esq. For Deft
   Andrew L. Campbell, Esq. For Deft
   Edward J. Fanning, Jr., Esq. For Deft

   Nature of Proceeding:    IN PERSON CONFERENCE

   In person status conference held;
   Deft’s Order to Show Cause is GRANTED [Dkt. No. 1013];
   Order to be filed.
   In person status conference continued to 6/27/19 at 11:00 a.m.




   Time Commenced 11:05 a.m.
   Time Adjourned 12:05 p.m.
   Total Time: 1 hr.
   cc: chambers                             Carmen D. Soto
                                           Deputy Clerk
